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                               UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WISCONSIN


  ALASDAIR DAVID MCADAM MARIOTTI

            Petitioner,
                                                                Case No.: 21-cv-00158
            and

  BETHANY ROSE RYCZEK

            Respondent.


         PETITIONER’S MOTION TO PROVIDE TESTIMONY IN OPEN COURT
                   BY CONTEMPORANEOUS TRANSMISSION


       Petitioner, Alasdair David McAdam Mariotti (“Mariotti”), by and through his attorneys,

Steinhilber Swanson LLP, by Kenneth R. Sipsma and Eliza M. Reyes, pursuant to Federal Rule of

Civil Procedure 43, files this Motion to Provide Testimony in Open Court by Contemporaneous

Transmission, seeking entry of an order allowing him to appear and testify at the trial in these

proceedings via videoconference. In support of this Motion, Mariotti states as follows below. This

Motion is further supported by the Declaration of Alasdair David McAdam Mariotti (“Mariotti

Declaration”) filed contemporaneously with this Motion.

                                            Background

       1.         On March 9, 2021, Mariotti initiated these proceedings by filing his Petition For

Return of Child to Petitioner Under the Hague Convention of Civil Remedies for International

Child Abduction (“Petition”) [Dkt 1]. Mariotti brought the Petition pursuant to the Hague

Convention of 25 October 1980 on the Civil Aspects of International Child Abduction, which came

into effect in the United States on July 1, 1988, and in Italy on May 1, 1995 (the “Hague
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Convention”), the International Child Abduction Remedies Act, 22 U.S.C. Sec. 9001 et seq.,

(“ICARA”) and Ch. 782, Wis. Stats.

       2.      Pursuant to ICARA, 22 U.S.C. § 9003(a), state courts and United States district

courts have concurrent original jurisdiction of actions arising under the Hague Convention.

       3.      This Court has jurisdiction over this matter pursuant to 22 U.S.C. § 9003 because

this case involves the wrongful removal and wrongful retention of a child under the age of 16 from

his habitual residence of Rome, Italy, to the United States of America (“United States”).

       4.      Pursuant to the Petition, Mariotti asserts that on or about March 20, 2020, Bethany

Rose Ryczek, the Respondent herein (“Ryczek”), abducted their child M.J.M.M. from Italy to the

United States, without Mariotti’s knowledge, consent or legal permission.

       5.      A three-day trial in these proceedings is scheduled to begin on August 18, 2021.

       6.      Mariotti submits that good cause in compelling circumstances exist such that he

should be allowed to appear and testify at the trial via videoconference.

                         Relief Requested and Legal Basis for Request

       7.      Mariotti respectfully requests that this Court allow him to appear and testify at the

trial in these proceedings by contemporaneous transmission via Zoom videoconference.

       8.      Federal Rule of Civil Procedure 43(a) addresses testimony by transmission:

                (a) In Open Court. At trial, the witnesses' testimony must be
                taken in open court unless a federal statute, the Federal Rules of
                Evidence, these rules, or other rules adopted by the Supreme
                Courtprovide otherwise. For good cause in compelling
                circumstances and with appropriate safeguards, the court may
                permit testimony inopen court by contemporaneous transmission
                from a different location.

 FRCP 43(a). Here, there exists “good cause in compelling circumstances” to permit these

 witnesses to testify by video conference. See Id.



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       9.      Mariotti cannot make himself physically present in the United States for the trial

due to his extreme claustrophobia and anxiety with flying. Mariotti Declaration, ¶2.a. As a young

child, he suffered from sleep paralysis, a condition in which he would wake up unable to move.

Id. The episodes left him with the feeling of being trapped. Id.

       10.     Then, when he was 10-years old, Mariotti witnessed an episode involving an

attempted kidnapping of two of his neighbors while he and his family were living in South Africa.

Mariotti Declaration, ¶2.a. When his parents intervened in the kidnapping attempt, the perpetrators

shot at his parents, wounding his mother and killing his then two-year old sister who was in her

mother’s arms. Id. Shortly after this incident, Mariotti and his family flew home to Scotland, which

was the last time Mariotti was able to fly in an airplane. Id.

       11.     Mariotti suffers from a condition called “amygdala hijacking,” which causes his

brian to be overwhelmed by a threat or perceived threat, causing intense emotional and physical

reactions and his inability to deal with the situation. Mariotti Declaration, ¶2.a. Eight years ago,

Mariotti attempted to fly but was unable to take the flight, getting off the plane before it took off.

Id.

       12.     Mariotti has sought remedies to address his anxieties throughout the years,

unfortunately to no avail. ¶2.a. Mariotti does not take drugs to help him cope with his conditions.

Id. He once attempted to take a prescribed anti-anxiety medication to try to travel by plane but the

effects of the medication were not good. Id. Taking drugs specifically to fly to the United States

for this trial is not an option, nor recommended by Mariotti’s doctors, as drugs may have a counter-

effect of increasing Mariotti’s brain activity while decreasing physical control. Id.

       13.     Since 1991, Mariotti’s travel has been limited within the European community,

mainly by car, which has also presented problems for Mariotti depending on particular



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circumstances. Mariotti Declaration, ¶2.a. Traveling by train is also problematic for Mariotti due

to tunnels and undergrounds. Id. Mariotti discussed traveling by sea to the United States but being

on the ocean for a number of days without sign of land induces the same reactions Mariotti

experiences. Id.

        14.     Here, if forced to travel to Wisconsin from Italy, Mariotti not only subjects himself

to vulnerability to his conditions, but also to travel restrictions during the ongoing Covid-19

pandemic. Second, compelling Mariotti to travel from Italy to Wisconsin to provide testimony

would be economically unreasonable for him. Third, the Hague Convention text and policy

requires courts conducting Hague Convention proceedings to adopt the most expeditious

mechanisms and remedies possible. Convention, art. 2. A postponement for an indeterminate time

to allow Mariotti to travel safely and without travel restrictions, is not proportionate to the good

cause that exists in compelling circumstances for this Court to grant this motion.

        15.     There is little case law in the Seventh Circuit on the contemporaneous transmission

testimony rule. However, the United States District Court for the District of Maryland recently

considered the rule in Lopez v. NTI, LLC, 748 F. Supp. 2d 471, 479-80 (D.Md. 2010). In Lopez,

the district court, in anticipation of a jury trial, ruled that certain plaintiffs would be permitted to

testify from Honduras by video conference for the jury. Id. In Lopez the district court explained:

                Despite videoconferencing's deficiencies, courts in this circuit and
                elsewhere have approved or affirmed its use in the civil context.
                See generally Rusu v. INS, 296 F.3d 316 (4th Cir.2002) (asylum
                proceeding); United States v. Baker, 45 F.3d 837 (4th Cir.1995)
                (civil commitment hearing); Edwards v. Logan, 38 F.Supp.2d 463
                (W.D.Va.1999) (civil rights action); see also In re Merck Prods.
                Liab. Litig., 439 F.Supp.2d 640, 642 (E.D.La.2006) (listing cases).
                These cases reflect a “consistent sensitivity to the utility of
                evolving technologies that may facilitate more efficient,
                convenient, and comfortable litigation practices.” 9A Wright &
                Miller, Federal Practice & Procedure § 2414 (3d ed. 2008). And
                while videoconferencing has its shortcomings, it at least appears to

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               be favorable to alternative methods, such as the submission of
               written deposition testimony. Sallenger v. City of Springfield, No.
               03–3093, 2008 WL 2705442, at *1 (C.D.Ill. July 9, 2008).

               In this case, Plaintiffs have demonstrated good cause as to those
               Plaintiffs residing in Honduras. The cost of international travel can
               provide good cause for contemporaneous transmission of
               testimony. See, e.g., Dagen v. CFC Grp. Holdings, No. 00 Civ.
               5682, 2003 WL 22533425, at *2 (S.D.N.Y. Nov. 7, 2003). In some
               cases, travel cost and inconvenience have justified
               contemporaneous transmission even when the parties where
               located within the United States, in contrast to the internationally
               resident Honduran Plaintiffs in this case. See, e.g., Beltran–Tirado
               v. INS, 213 F.3d 1179, 1186 (9th Cir.2000) (affirming use of
               telephonic testimony for hearing in California where witness was
               in Missouri); Scott Timber, Inc. v. United States, 93 Fed.Cl. 498,
               499–501 (2010) (approving use of videoconferencing for trial in
               Washington, D.C., where witness was in Oregon); Fed. Trade
               Comm'n v. Swedish Match N. Am., Inc., 197 F.R.D. 1, 2
               (D.D.C.2000) (finding good cause for videoconferencing where
               witness was in Oklahoma and hearing was in Washington, D.C.).
               Forcing the Honduran Plaintiffs in this case to travel to the United
               States would impose substantial inconvenience and cost on persons
               with strikingly few financial resources. (Paper 76–1). When viable
               alternatives like videoconferencing are available, compelling
               individuals who make no more than $7,000 a year to travel
               hundreds of miles seems fundamentally unjust. And although the
               court sympathizes with Defendants’ claim that this litigation has
               already imposed substantial costs on them as well (Paper 75, at 4–
               5), those costs do not justify imposing needless expense on
               Plaintiffs.

Lopez at 479-480.

       16.     More recently, courts in other jurisdictions have exercised the discretion afforded

to them by Rule 43(a) and allowed testimony to be presented at trial via videoconference, finding

that the Covid-19 pandemic and its impact on parties’ and witnesses’ ability to appear in person

during court proceedings constituted “good cause and compelling circumstances” under Rule 43(a)

to permit witnesses to testify at a bench trial via videoconference. In re RFC & ResCap Liquidating




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Tr. Action, 444 F. Supp. 3d 967, 971 (D. Minn. 2020), see also, Raffel Systems, LLC v. Man Wah

Holdings Ltd., Inc., 2020 WL 8771481 *2 (E.D. Wis. 2020).

          17.   The court in RFC acknowledged that “[c]onducting a trial by videoconference is

certainly not the same as conducting a trial where witnesses testify in the same room as the

factfinder…[c]ertain features of testimony useful to evaluating credibility and persuasiveness,

such as ‘[t]he immediacy of a living person’ can be lost with video technology, and the ‘ability to

observe demeanor, central to the fact-finding process, may be lessened.” See In re RFC, 444 F.

Supp. 3d at 970 (internal citations and quotations omitted). However, the court then concluded that

“advances in technology minimize these concerns, and the “near-instantaneous transmission of

video testimony through current technology permits…[in a bench trial, the Court] to see the live

witness along with his hesitation, his doubts, his variations of language, his confidence or

precipitance, [and] his calmness or consideration[.] Id. The court then further found that “[g]iven

the speed and clarity of modern videoconference technology, where good cause and compelling

circumstances are shown, such testimony ‘satisfies the goals of live, in-person testimony…’” Id.

at 971.

          18.   Similarly, in Raffel Systems the court found that conducting a hearing by video

would allow the trier of fact to properly hear the witnesses’ testimony, observe their demeanor,

and overall evaluate the witnesses’ credibility. See Raffel Systems, 2020 WL 8771481 *3. The

court also found that because the hearing to be conducted was a bench trial where there would be

a single fact-finder as opposed to a jury trial with multiple fact-finders listening to and viewing the

testimony, it would be able to “get an even closer look at…the other witnesses’ faces via

videoconference than I could during an in-person hearing.” Id. The court in Raffel Systems then




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found that because the proceedings would be a bench trial, the court was confident that it would

adequately understand the witnesses’ testimony through videoconference technology. Id.

       19.     Mariotti is requesting that he be permitted to appear and testify at the bench trial by

Zoom video conferencing. Mariotti submits that his conditions with regard to travelling more than

demonstrate good cause for allowing his contemporaneous transmission at the trial via

videoconferencing. See Mariotti Declaration, ¶2.a.

       20.     Here, similar to the courts in RFC and Raffel Systems, this Court is conducting a

summary and expedited bench trial, in which this Court will be the only trier of fact. As the

courtrooms in the Western District of Wisconsin are all electronically equipped, there is no reason

to believe that this Court would not be able to understand Mariotti’s testimony through

videoconference technology.

       21.     Additionally, the continuing effects of the Covid-19 pandemic on international

travel and the costs of flying from Italy to Wisconsin, are both good cause and a compelling

circumstance to grant this Motion.

       22.     Moreover, these proceedings would cause any parent severe anxiety. Mariotti’s

current situation with regard to M.J.M.M. coupled with his claustrophobia and issues with being

able to travel by airplane, is undoubtedly already causing Mariotti extreme anxiety. It would be

severely detrimental to Mariotti’s mental health to force him to attend the bench trial in person.

This alone is good cause and a compelling circumstance to grant this Motion.

       23.     Finally, a discussed previously herein, the Hague Convention mandates the most

expeditious mechanisms and remedies available to the parties involved in such proceedings, even

allowing testimony by affidavit only in certain circumstances. See, Convention, arts. 2., 14.




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Therefore, this Court should exercise its discretion and permit Mariotti to appear and provide

testimony via Zoom during the forthcoming bench trial.

        WHEREFORE, the Petitioner, Alasdair David McAdam Mariotti, respectfully

 requests the entry of an Order granting this motion and permitting him to testify by

 contemporaneous transmission via Zoom videoconference at the forthcoming trial, and to grant

 such other relief as this court deems just and necessary.

       Dated this 16th day of July 2021.

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